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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

REBECCA FRISKE, individually and on
behalf of all others similarly situated,      Case No. 16-cv-12799-DML-EAS

                   Plaintiff,                 District Judge David M. Lawson
                                              Magistrate Judge Elizabeth A.
      v.                                      Stafford


BONNIER CORPORATION, a Delaware
corporation,

                   Defendant.

      DECLARATION OF GARY F. LYNCH IN SUPPORT OF
       PLAINTIFF’S UNOPPOSED MOTION TO CERTIFY
SETTLEMENT CLASS AND APPOINT SETTLEMENT CLASS COUNSEL

      I, Gary F. Lynch, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am an adult over the age of 18, a resident of the Commonwealth of

Pennsylvania, and a partner at Carlson Lynch Sweet Kilpela & Carpenter, LLP.

      2.     I have personal knowledge of all matters asserted herein, and if called

to testify, could do so competently.

      3.     This action was filed on July 29, 2016, see Dkt. No. 1, and an

amended complaint was filed on November 07, 2016, see Dkt. No. 7.

      4.     Bonnier filed a motion to dismiss, see Dkt. No. 11, which the parties

fully briefed, see Dkt. Nos. 12, 17 and 20.

      5.     Plaintiff served discovery on Bonnier when the motion was pending.


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      6.       After discovery was served, the parties began engaging in settlement

discussions.

      7.       After numerous settlement discussions, the parties agreed to mediate

their dispute and the Court entered a formal order on April 29, 2017, referring the

case to mediation. See Dkt. No. 21.

      8.       The mediation was conducted by Jed D. Melnick at JAMS in New

York City, and the parties exchanged mediation briefs and informal information in

order to prepare for and conduct the mediation.

      9.       After a full day of mediation, follow-up work with the mediator, and

various arms-length negotiations spanning several months, the parties ultimately

reached an agreement in principal.

      10.      Subsequently, the parties executed a settlement agreement, which

would cover a class of approximately 126,240 Michigan persons who purchased a

subscription to a magazine published by Bonnier, from July 28, 2010 until the date

of the filing of this motion, where such subscription was not purchased through a

third-party subscription agent.

      11.      My firm, Carlson Lynch Sweet Kilpela & Carpenter, LLP

(“CLSKC”), and the Law Offices of Daniel O. Myers (“LODM”), have a wealth of

experience litigating consumer class actions.




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      12.   CLSCK and LODM have been involved in numerous consumer

protection lawsuits throughout the country, have the resources and skill to litigate

these cases, and have litigated this case thoughtfully and engaged in months-long

negotiations to achieve the result currently before the Court. See Firm Resumes

attached as Exhibits A-B.

      13.   CLSKC and LODM have and will, both individually and collectively,

devoted substantial time and resources to the prosecution and settlement of this

action.

      I declare under penalty of perjury that the above and foregoing is true and

accurate.

      Executed this August 31, 2017, Pittsburgh, Pennsylvania.



                                             /s/ Gary F. Lynch
                                             Gary F. Lynch
                                             CARLSON LYNCH SWEET
                                             KILPELA & CARPENTER, LLP
                                             1133 Penn Avenue, 5th Floor
                                             Pittsburgh, PA 15222
                                             (412) 322-9243




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                         CERTIFICATE OF SERVICE

      I hereby certify that on Thursday, August 31, 2017, I electronically filed the
foregoing document with the Clerk of Court using the Court’s ECF filing system,
which will send notification to the following:

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                                                   /s/ Gary F. Lynch
                                                   Gary F. Lynch




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